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 1     CUAUHTEMOC ORTEGA (Bar No. 257443)
      Federal Public Defender
 2    IJEOMA U. EKE(Bar No. 331938)
     (E-Mail: Ijeoma Eke~fd.org)
 3    Deputy Federal lsublic efender
      32I East 2nd Street
 4    Los Angeles, California 90012-4202
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 5   Facsimile: (213)894-7556
 6   Attorneys for Defendant
     ADAM ROSS BREGMAN
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 8
 9                            UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
12
13. UNITED STATES OF AMERICA,                        Case No. MJ 23-6322
14               Plaintiff,
                                                     STIPULATION TO AMEND
15         v.                                        CONDITIONS OF PRETRIAL
                                                     RELEASE;[PROPOSED] ORDER
16   ADAM ROSS BREGMAN,
17               Defendant.
18
19         Defendant Adam Ross Bregman, through his attorney of record, Deputy Federal
20   Public Defender Ijeoma U. Eke, and the United States of America, through its attorney
21   ofrecord, Assistant United States Attorney Jason Gorn, stipulate as follows:
22     (1) On December 12, 2023, Mr. Bregman was arrested and made his initial
23         appearance before the Honorable Charles F. Eick.
24     (2) The government request for detention was denied and Mr. Bregman was
25         released on conditions including a $250,000 bond secured by affidavits of surety
26         by Danny Javidzad and Jacob Penzer.
27     (3)The parties stipulate and agree that LeiLani Roach, Mr. Bregman's mother-in-
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                                                 1
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 1         law, shall serve as a surety in place of Danny Javidzad and Jacob Penzer and
 2         execute an unsecured affidavit of surety in the amount of $250,000.
 3     (4)The parties stipulate that all other conditions of Mr. Bregman's pretrial release
 4         should remain in place.
 5
 6     IT IS SO STIPULATED.
 7
                                           Respectfully submitted,
 8
                                           CUAUHTEMOC ORTEGA
 9                                         Federal Public Defender
10
11   DATED: December 13, 2023              By /s/Ijeoma U. Eke
12                                         IJEOMA U. EKE
                                           Deputy Federal Public Defenders
13                                         Attorney for ADAM ROSS BREGMAN

14
15                                         E. MARTIN ESTRADA
                                           United States Attorney
16
17
     DATED: December 13, 2023           By lsl Jason Gorn (with permission)
18                                        JASON GORN
                                          Assistant United States Attorney
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